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$2&  :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u 2ULJLQDO                u 'XSOLFDWH2ULJLQDO


                                           81,7(' 67$7(6 ',675,&7 &2857
                                                                         IRUWKH
                                                                District of Columbia
                                                          BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
                     ,QWKH0DWWHURI WKH6HDUFKRI
            (Briefly describe the property to be searched
             or identify the person by name and address)
   ,17+(0$77(52)7+(6($5&+2)21(',*,7$/                                     &DVH1RVZ
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   :,5(/(667(/(3+21(6/2&$7('$77+671:
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7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU
           $QDSSOLFDWLRQE\DIHGHUDOODZHQIRUFHPHQWRIILFHURUDQDWWRUQH\IRUWKHJRYHUQPHQWUHTXHVWVWKHVHDUFKDQGVHL]XUH
RIWKHIROORZLQJSHUVRQRUSURSHUW\ORFDWHGLQWKH                                 'LVWULFWRI          &ROXPELD
(identify the person or describe the property to be searched and give its location)
  6HDUFK RI RQH GLJLWDO VWRUDJH PHGLD GHYLFH VHULDO QXPEHU 6=1:.1 FRQWDLQLQJ WKH LPDJHV RI WZR
  ZLUHOHVV WHOHSKRQHV ORFDWHG DW  WK 6W 1: :DVKLQJWRQ '&  IRULQYHVWLJDWLRQRIYLRODWLRQRI86&
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  LQFOXGLQJ$WWDFKPHQW$


        ,ILQGWKDWWKHDIILGDYLW V RUDQ\UHFRUGHGWHVWLPRQ\HVWDEOLVKSUREDEOHFDXVHWRVHDUFKDQGVHL]HWKHSHUVRQRUSURSHUW\
GHVFULEHGDERYHDQGWKDWVXFKVHDUFKZLOOUHYHDO (identify the person or describe the property to be seized)
  (YLGHQFHIUXLWVDQGLQVWUXPHQWDOLWLHVRIYLRODWLRQRI86& &RQWULEXWLRQVLQWKHQDPHRIDQRWKHUSURKLELWHG 
  DQG SURKLELWLQJFRQWULEXWLRQVE\*RYHUQPHQWFRQWUDFWRUV  DVIXUWKHUGHVFULEHGLQWKHDWWDFKHGDIILGDYLWLQVXSSRUW
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         <28$5(&200$1'('WRH[HFXWHWKLVZDUUDQWRQRUEHIRUH                    $SULO      (not to exceed 14 days)
       u LQWKHGD\WLPHDPWRSP ✔
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        8QOHVVGHOD\HGQRWLFHLVDXWKRUL]HGEHORZ\RXPXVWJLYHDFRS\RIWKHZDUUDQWDQGDUHFHLSWIRUWKHSURSHUW\WDNHQWRWKH
SHUVRQIURPZKRPRUIURPZKRVHSUHPLVHVWKHSURSHUW\ZDVWDNHQRUOHDYHWKHFRS\DQGUHFHLSWDWWKHSODFHZKHUHWKH
SURSHUW\ZDVWDNHQ
        7KHRIILFHUH[HFXWLQJWKLVZDUUDQWRUDQRIILFHUSUHVHQWGXULQJWKHH[HFXWLRQRIWKHZDUUDQWPXVWSUHSDUHDQLQYHQWRU\
DVUHTXLUHGE\ODZDQGSURPSWO\UHWXUQWKLVZDUUDQWDQGLQYHQWRU\WR             *0LFKDHO+DUYH\                               
                                                                                                  (United States Magistrate Judge)

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SURSHUW\ZLOOEHVHDUFKHGRUVHL]HG(check the appropriate box)
    u IRU          GD\V(not to exceed 30) u
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                                                                                                                    Digitally signed by G. Michael
                                                                                                                    Harvey
'DWHDQGWLPHLVVXHG                                                                                    Date: 2021.04.07 19:35:37 -04'00'
                                                                                                         Judge’s signature

&LW\DQGVWDWH :DVKLQJWRQ '&                                                           * 0LFKDHO+DUYH\860DJLVWUDWH-XGJH
                                                                                                        Printed name and title
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AO 93C (08118) Warrant by Tclephonc or Other Reliable Electronic Means (Page 2)


                                                                              Return




Inventory of the property taken and name s) of any person(s) sized:




                                                                         Certification



         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date:    1f~91~1-(
